Case 2:04-cr-20140-.]PI\/| Document 198 Filed 07/19/05 Page 1 of 2 Page|D 268

IN THE UNITED STATES DISTRICT COUR'|RE`G E|VED

FOR THE WESTERN DISTRICT OF TENNESS

WESTERN mvlsloN HJUL l 9 m ": 39
THOMAS M. GOULD
Cl.EH(. U.S D§SllilCT COURT
UNITED sTATEs or AMERICA, wm OF m MEMPH|S
Plaintiff,

VS.

No. 2104-cr-20140-Ml

§§

g:
ORDER ON MOTION TO CONTINUE REPORT DATE;_")_§‘°

ANTHONY B. MACK,
Defendant.

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This matter came on to be heard upon motion by the defendant to reschedl.§§§<'pof@datep

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set for July 22, 2005. For good cause shown and Without objection by counsel for the United States,

the motion is GRANTED. Defendant’s report date is rescheduled from July 22, 2005, until

Fn‘da\l , OCtObCf ag at q" 00 o’clock. The period from July 22,

2005, to October ZX , 2005, is excludable under U.S.C. 3161 (h)(8) (b)(4) because the ends of

justice served in allowing additional time to prepare outweigh the need for a speedy trial.

IT IS SO ORDERED this l C? day of July, 2005.

   
  

JUD EJON P. MCCALLA
F eral District Court

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Thls document entered on the docket sheet in comgffance
Wl£h Ftule 5':`: anr.l/or 32(t)) FHCrP on "

 
 

   

UNITED `SATES DISTRICT COURT - WESTERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy ofthe document docketed as number 198 in
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Honorable J on McCalla
US DISTRICT COURT

